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  IT IS ORDERED as set forth below:



  Date: August 6, 2021
                                                      ________________________________
                                                                  Paul Baisier
                                                          U.S. Bankruptcy Court Judge

  _______________________________________________________________



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                                :       CHAPTER 7
                                                      :
TRACY DENNIS,                                         :       CASE NO. 20-63562-PMB
                                                      :
         Debtor.                                      :
                                                      :

                   ORDER APPROVING EMPLOYMENT OF ACCOUNTANT
                        SUBJECT TO OBJECTION (HOURLY FEE)

    S. Gregory Hays, the Chapter 7 Trustee (the “Trustee”), filed an Application for

Appointment of Accountants (the “Application”) [Docket No. 35] requesting authority to

employ Hays Financial Consulting, LLC (“HFC”) on August 5, 2021. HFC will serve the

Trustee on an hourly fee basis. No notice or hearing on the Application is necessary. Based upon

the affidavit included in the Application, it appears that HFC is a firm of accountants qualified to

practice in this Court, that they are disinterested and represent no interest adverse to Debtor or

the estate, and that this case justifies employment of a professional for the purpose specified.
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      Subject to objection filed by the United States Trustee or any other party in interest in this

case within twenty-one (21) days from the date of the entry of this Order, it is hereby

ORDERED and ADJUDGED as follows:

      1. Pursuant to 11 U.S.C. §327(a) and FED R. BANKR. P. 2014, the employment of HFC to

         represent the Trustee and the estate on the basis set forth in the Application is hereby

         approved.

      2. No compensation shall be paid to HFC until the Court has allowed such compensation in

         accordance with 11 U.S.C. §330 and 331 and FED R. BANKR. P. 2016, after notice and

         a hearing on an appropriate application for compensation, copies of which shall be served

         on the Debtor, Debtor’s Counsel, Chapter 7 Trustee, the United States Trustee, and all

         interested parties.1

      3. Any objection to this Order shall be served on the United States Trustee, HFC, the

         Trustee, Debtor, and counsel for Debtor. If an objection is timely filed, counsel for the

         Trustee shall schedule a hearing on the Application and such objection pursuant to the

         Court’s Open Calendar Procedures and shall provide notice of such hearing to the United

         States Trustee, HFC, Debtor, counsel for Debtor, and the objecting party.

      Trustee is directed to serve a copy of this Order on the Debtor, counsel for the Debtor, United

States Trustee, HFC, all counsel that have filed a request for notices in this case, and all creditors

that have filed a proof of claim in this case, and to file with the Court a Certificate of Service

indicating such service, all within three business days of the entry of this Order.

                                       END OF DOCUMENT




1
    See the United States Trustee Guideline for Reviewing Applications for Compensation.
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Prepared and presented by:

/s/ S. Gregory Hays
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